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              IN THE UNITED STATES COURT OP APPEALS

                     FOR THE ELEVENTH CIRCUIT




                         er-Appellant,

                                               APPEAL NO.    12-13456-E

UNITED STATES OF AMERICA,

             Respondent-Appellee.



            MOTION FOR RECONSIDERATION OF COA DENIAL
                     BY A THREE-JUDGE PANEL

     Now comes Gregory C. Kapordelis, Appellant, seeking reconsideration

of Circuit Judge Wilson's single-judge order denying a Certificate of
                     i

Appealability with respect to thirteen questions presented, and denying

as moot leave to proceed in forma pauperis.          A three-judge panel should

be assigned the task of reconsideration* pursuant to FRAP 27(d).                   See

also Hodges v. A.G., 506 F.3d 1337,1339 (11th Cir. 2007)(Had Hodges

moved for reconsideration of the single-judge denial of COA as to Grounds

IV and IV, "his motion would have gone before a three-judge panel.")

     In order to persuade the panel that Judge Wilson's denial of COA

was clearly unjust based on the facts and legal arguments supporting

Appellant's thirteen questions, this brief will focus on the most cri

tical issue -- the Fifth and Sixth Amendment violations resulting from

the false jury instruction as to the age of legal consent for sexual

activity (see Questions 2 and 9(B) on pages 14-44 and 131-142 of the

COA petition) —   and only briefly outline the other questions which

are equally deserving of COA approval.         More to the point, Appellant con

tends that the instant panel will readily recognize            that § 2255 relief

is due regarding the false instruction claim, and he asks the panel to

deem this showing sufficient cause to warrant reconsideration of all

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questions in his COA petition, and to grant a COA where there is a

valid claim of the denial of a constitutional right and (if relevant
to the claim) a showing that the district court was wrong in its
procedural ruling.


I- Judge Wilson Erred When He Deemed Moot Appellant's Informa Pauperis
   Status, Where The Appeal Of The Recusal Motion Did Not Require a COA.
     On Appellant's application for in forma pauperis status, he
referenced not only the claims underlying the COA petition, but also
his claim related to Judge Pannell's and Judge Brill's denial of a
motion to recuse.    Appellant contends that he should have been granted
the right to appeal the recusal issue as a pauper even if the COA had
been denied as to all questions presented.         Indeed, Appellant properly
objected below to the district court's denial as to recusal, making the
issue ripe for appeal once the district court's final order as to the
§ 2255 motion was executed.

     Wherefore, Appellant requests that the instant panel grant in forma
pauperis status irrespective of whether a COA is granted.

11• Judge Wilson Erred When Concluding That Appellant Failed To Show
    That Reasonable Jurists Would Find It Debatable Whether (1) The
    District Court Was Correct In Its Procedural Ruling, And (2) The
    Petition States A Valid Claim Of The Denial Of A Constitutional
    Right. A Detailed Analysis Of Question #2 explains why.
     In each of the questions presented in the COA petition, Appellant
provided irrefutable proof of a constitutional violation, and, where
necessary, he provided additional proof to overcome the district court's
assertion of a procedural bar (whether coined as "prior litigation" or
a "procedural default"). Judge Wilson failed to recognize this proof.
    Appellant   presents infra the brief he intended to file if granted

a COA as to Question #2, a brief which demonstrates not merely that there

is a "debatable" argument regarding a constitutional violation and the
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district court's procedural ruling, but that the facts and law demand

that § 2255 relief be provided instanter.

       Appellant fully understands that the Supreme Court "do[es] not

require a petitioner to prove, before the issuance of a COA, that

some jurists would grant the petition for habeas corpus," Miller-El v.

Cockrell, 537 U.S. 322 (2003), but he can think of no better way to

prove Judge Wilson's error in denying a COA than by demonstrating that

his claim is undeniably meritorious.            In short, evidence of a consti

tutional violation and an erroneous procedural ruling at the district

court certainly makes these issues debatable in the minds of reasonable

jurists.

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       4. Procedural Default Is Overcome Under Wainwright v. Sykes

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 Question #02: Whether the district court erred in denying, for pro
 cedural reasons, Mr. Kapordelis's Fifth and Sixth Amendment claims
 in Ground-5 concerning the fatal effect of the false jury instruction
 on the 404(b) evidence pertaining to his legal, homosexual sexual con
 duct in Prague, where the false instruction resulted in the fabrication
 of bogus evidence of child molestation which improperly established
 intent as to the charged crimes and which poisoned juror impartiality?
This claim is specifically linked to Mr. Kapordelis's claim of ineffec
 tive assistance of counsel under Ground-16, where Mr. Samuel is being
 faulted based on his deficient performance at trial and on appeal.

A.   Overview


      As detailed in Appellant's habeas petition under Ground-5 (Doc. 536,
Att. 6, pp. 1-29), Memorandum of Law (Doc. 546, pp. 107-119), and Mo
tion for COA (COA Pet., pp. 14-52), this claim involves the trial court's
decisions (i) to present jurors, most of whom identified themselves as
biased against homosexual conduct, with graphic and detailed evidence
of Appellant's legal, homosexual sexual activities in Prague, Czech Re
public, three years prior to arrest;, (ii) to instruct the jury fal
sely that the age of legal consent for sexual activity was 18, when it
was 16 in the state of Georgia and thirty-three other states, and 15 in
the Czech Republic; and (iii) to reject a cautionary instruction which
would have included the age of consent laws.         Appellant's Fifth and
Sixth Amendment rights were violated, as a result of the false instruc
tion's effect on the 404(b) evidence, because his legal sexual conduct
involving persons under 18, but over the age of legal consent, was
transmogrified into evidence of heinous molestation crimes.              Exhibit-53
alone forced the jurors to conclude that Appellant violated the law
more than a dozen times, even though no crimes actually took place.
      Appellant contends that the Fifth and Sixth Amendment trespasses
manifest as (i) the denial of rudimentary demands of fair procedure
through a defect which involved a corruption of the jury's "truth-seeking"
function, (ii) the denial of a presumption of innocence, (iii) the
denial of an ability to confront evidence, (iv) the fabrication of evi-
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 dence of intent (mens rea), i.e., an element of the crime; (v) the
 denial of a right to an impartial jury; (vi) exploitation of the false
 evidence at closing; and (vii) structural error.

      The district court escaped review of Ground-5 on the merits,
 by erecting a procedural bar after concluding it was "an expanded
 version of the arguments made in [Appellant's] direct appeal brief,
 [and] should therefore be denied." (Doc. 567, p. 12).             When it came
 time to address Appellant's claim of ineffective assistance of counsel,
 the district court never once acknowledged (much less addressed) the
 merits of Ground-5, even though this ground was provided as support for
 the IAC claims underlying Ground-16. (Doc. 567, pp. 23-26; Doc. 536,
Att. 17, p. ). as such, no deference is due the district court's de
cision as to whether a constitutional violation took place, where the
Eleventh Circuit clearly requires a review of the underlying claims in
ineffective assistance of counsel claims. Cross v. United States. 893
F.2d 1290 (11th Cir. 1990)(In order to determine whether the failure to
raise a claim on appeal resulted in prejudice, the merits of the omitted
claim must be reviewed.).

     In addition to justifying habeas review based on IAC, Appellant
seeks review based on the "cause and prejudice" standard addressed in
Wainwright v. Sykes, 433 U.S. 72, 81-88 (1972), by asserting that "cause"
is established not only based on IAC, but based on the denial of a
meaningful appellate review due to the adoption of a false premise that
Appellant was the one who opened the door to the Prague evidence. But
for the false premise, the appellate panel (on direct appeal) would have
authorized a new trial, based on a legitimate harmless-error review un
der Fed.R.Crim.P. 52(a). Indeed, longstanding Supreme Court and Eleventh
Circuit precedent would have allowed no alternative resolution.
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B.   Relevant Facts

       This is a summary of the facts which were detailed in Appellant's
petition for COA (Doc. 588, pp. 15-24).        The district court has never
challenged the veracity of any of these facts, choosing instead to sum
marily conclude that no constitutional violations took place.                Indeed,
even where the government chose to falsely assert (in its responsive
pleading, Doc. 553, p.20) that the jury instruction was accurate based
on U.S. law, the district .court remained silent, and for good reason: it
is irrefutable that the jury instruction was false based on both U.S.
and Czech law.

      Because the district court has implicitly conceded to Appellant's
factual allegations, the appellate court's task is simple: to determine
whether the facts constitute a constitutional violation worthy of habeas
relief. As the facts infra reveal, only a new trial can" provide relief.
      1. Appellant engaged in legal, private, homosexual sexual conduct
in Prague, Czech Republic, three-years prior to arrest (i.e. between
1998 and 2001), which was unrelated to child pornography (Doc. 536,
Att. 6, p. 2; Att. 13, p. 1).     This sexual activity made up the 404(b)
evidence which was presented at trial as both testimony and exhibits.
Specifically, there was evidence that Appellant engaged in non-commercial
sex with persons under the age of 18 but over the age of legal consent,
and there was evidence that Appellant engaged in sexual activity with an
18 year old prostitute.    Czech law permitted sexual conduct with any
person over the age of 15, as well as prostitution with a person over
the age of 18.   U.S. federal law inacted in 2003 permits non-commercial
sexual conduct with persons over the age of J_6, and commercial sex with
persons over the age of 18. See 18 U.S.C. § 2423(c).              The majority of
states in America permit non-commercial sexual conduct with persons
over the age of 16. See U.S. v. Lopez-DeLeon. 513 F.3d 472, n.3 (5th
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Cir. 2008)(identifying statues in all fifty states as to age of consent).

     2. Although the testimonial evidence at trial was purely specu

lative , in terms of whether sexual conduct took place and the actual

ages of persons involved with Appellant, the exhibits (particularly
Exhibit 53, but generally Exhibits 46-61) included graphic details of

Appellant's conduct (i.e., anal sex versus oral sex, etc.) and expressly
identified the ages of Appellant's partners.           To appreciate the more
toxic effect of the exhibits (when compared to the testimony), please
see Doc. 536, Att. 6, pp. 16-22.         Importantly, Exhibit 53 alone pro
vided evidence of more than a dozen sexual encounters (out of more than
fifty) which involved persons over the age of legal consent but under
the age of 18.   It was this evidence of legal conduct which was morphed
into evidence of criminal conduct based on the false jury instruction.
     3. Prosecutors conceded during the sentencing hearing that the
sexual conduct in Prague did not constitute criminal events, and the
court expressly stated that it didn't know whether the events were legal
or not based on the record. (Sent.Tr., p. 241-42).

    4. The government filed a motion in limine prior to trial seeking to
admit the Prague 404(b) evidence, notwithstanding the admission by
jurors to a bias against homosexual sexual conduct.            Mr. Samuel objected
to the government's motion, but the court granted it (at least with re
gard to exhibits) prior to opening statements. (Docs. 209, 224,. 410, 418).
     5. The government also filed a motion in limine (Doc. 406) urging
the court to reject the defense request that jurors be informed about
the age of consent laws that governed Appellant's activities in Prague.
Based on two statements in the government's motion (Doc. 406, n-1 and
n-2), it is clear that prosecutors intended to deceive jurors into in
ferring that the sexual activity in Prague involved "conduct with minors,"
i.e., something that could not be inferred if the age of consent laws
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were     provided.   Mr. Samuel strenuously objected to this motion, but

the court granted it before formulating its cautionary instruction to

jurors. (Doc. 536, Att. 6, pp. 2-3).        Specifically, the court denied

Mr. Samuel's request that jurors be instructed on the age of consent

laws, and it presented a cautionary instruction advising jurors they
could     consider    the Prague conduct to determine whether Appellant had

the necessary intent to "disobey or disregard the law."              (Doc. 588. p.
17-19).     Movant contends that the cautionary instruction was poisonous

sans the age of consent laws, because jurors were invited to infer the
existence of criminal intent by finding         that the Prague conduct was
unlawful.


        6. The trial court presented a false instruction (Government In

struction #17) which forced jurors to conclude it was a crime if Appel
lant had engaged in sexual activity with any person in Prague who was

under the age of 18.      The court did this by first defining the term

minor, for purposes of the instructions, as "any person under the age
of 18 years," and by then advising that "Under the law, a minor may not
consent to participating in sexual activity." (Tr.Tr., pp. 2054, 2057).
As a result, the jury was compelled to conclude that Appellant fully
intended to disobey or disregard the law each time he had sexual encoun
ters with people under the age of 18, even though the conduct was

legal because his sexual partners were over the age of consent.                    Appel
lant contends that this false evidence of heinous molestation crimes not

only generated a false source of intent, but also eviscerated his right
to an impartial jury and his right to a presumption of innocence.

       7. Although Mr. Samuel objected to jury instruction #17, and to the
court's rejection of a cautionary instruction which included the age of
consent laws, he did not complain of structural error which violated

Appellant's right to a fair trial under the Sixth Amendment.               As the

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trial excerpts presented in the Petition for COA reflect (Doc. 588, p.

18), Mr. Samuel insisted that jurors be told the truth: "What's wrong

with telling [jurors] the truth about that?"          The government's response,

i.e., that it was not making "any allegations [as to the legality of

the sexual activity in Prague] one way or the other," is exposed as

nothing short of a false promise when one reflects on the false jury

instruction (supra) and the false statement during closing argument

(see infra).   Simply put, the prosecutors' agenda was corrupt.

     8. During closing argument, prosecutors capitalized on the false

evidence of sexual molestations in Prague (thus betraying their promise

not to argue "one way or the other") when telling jurors that, "Dr.

Kapordelis was free to have sex with someone over the age of 18 as much

as he wanted, male or female....What he does with his free time that is

legal isn't before you. It is not anything we are passing judgment on."

(Doc. 536, Att. 6, p. 5; Doc. 588, pp. 20-21; Tr.Tr., p. 2031).                  Put sim

ply/ prosecutors wanted jurors to conclude that the sexual conduct in
Prague was   unlawful because it involved persons under the age of 18.

This was untrue, and prosecutors knew it was untrue. Even today, a per

son can engage in sexual activity with a 16 or 17-year old in Prague,

without violating Czech or U.S. law, as long as images of the sexual

acts are not produced.     Such conduct is also lawful in thirty-three

states in America, including Appellant's homestate of Georgia.               The

government's misconduct during closing argument furthered the due pro

cess violation emerging from the false instruction.

     9. Rather than enumerate a claim on appeal which alleged multiple

Fifth and Sixth Amendment violations resulting from the effect of the

false jury instruction (and failure to caution) on the 404(b) evidence

(specifically Exhibits 46-61), Mr. Samuel presented a far weaker claim

alleging that the 404(b) evidence was irrelevant and, therefore, should

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not have been introduced (App.Br., at 4).         Mr. Samuel also failed to

claim that the constitutional harm amounted to a          structural error

which required the presumption of prejudice, and failed to request a

plain-error review under Fed.R.Crim.P. 52(b) to the extent that he

failed as trial counsel to object on this basis.

    10. Mr. Samuel was far more focused in his reply brief, i.e., when

responding to the government's false claim of "invited harmless error"

and branding the instructional error as a "404(b) slaughter."              In short,

Mr. Samuel provided specific references to the trial transcript to

prove that it was the government that first introduced the Prague evi

dence to jurors, and that Appellant merely responded during his opening

statement to what had already been admitted. (App.R.Br., pp. 23-29;

Doc. 536, Att. 6, p. 27; Doc. 588, p. 22).         He also proved harmfulness.

    11. On direct appeal, the panel seemingly failed to assimilate Mr.

Samuel's reply brief, because it (i) escaped a legitimate harmless-

error analysis under Rule 52(a), by adopting the government's false

premise of 'invited error'; (ii) never addressed the effect of the

false jury instruction on the trial exhibits that Mr. Samuel identified

only in his reply; (iii) summarily dismissed the "failure to caution"

claim as one "in passing"; and, (iv) refused to "point a finger" at

the district court based on the false premise of invited error. (See

Doc. 588, pp. 21-24, for relevant excerpts from the direct appeal

briefs and June 1, 2009 decision; Kapordelis, 569 F.3d at 1312-14).

    12. Ground-5 cannot be deemed an effort to re-litigate issues that
were presented on direct appeal, because the appellate panel never

addressed the effect of the false jury instruction on the 404(b) exhi
bits which were waived on direct appeal.        As such, Appellant must only
overcome/negate the assertion of a procedural default for habeas review.


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C. Legal Argument

     As detailed in Appellant's application for COA (Doc. 588, pp. 14-
52; adopted in full by reference), his Fifth and Sixth Amendment rights
were violated in multiple ways due to the effect of a false jury in
struction on the 404(b) evidence pertaining to legal, homosexual, sexual
conduct which took place in Prague three years prior to arrest. To prove
that relief is merited beyond question, Appellant will (!.) establish
the fact of constitutional harm,. (2) expose as clear error the district
court's assertion of "prior litigation," and (3) show that habeas relief
is required whether based on the substantive claim of ineffective assis
tance of counsel under Strickland v. Washington, or based on the exis
tence of "cause and prejudice" under Wainwright v. Sykes.

  1• Appellant's Fifth And Sixth Amendment Rights Were Violated

(a) Fifth Amendment Violation:

     The Fifth Amendment guarantees due process of law.             This neces
sarily involves "more than fair process." Washington v. Glucksberg,
521 U.S. 702, 719 (1977).     The Due Process Clause "includes a substan
tive component that 'provides heightened protection against govern
ment interference with certain fundamental rights and liberty inter
ests.'" Troxel v. Granelle, 147 L.Ed.2d 48 (2000)(quoting Glucksberg,
521 U.S., at 720).   The Supreme Court has regularly observed that:
     [T]he Clause specifically protects those fundamental rights
     and liberties which are, objectively, deeply rooted in this
     Nation's history and tradition...and implicit in the concept
     of ordered liberty, such that neither liberty nor justice
     would exist if they were sacrificed. Glucksberg, 521 U.S., at
     721-722)(citations and internal quotations omitted).
Appellant argues that the false jury instruction, coupled to the trial
court's refusal to caution jurors as to the age of legal consent for
sexual activity, deprived Appellant of his fundamental rights by (i)

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 denying Appellant the right to present a defense by proving the Prague
 conduct was lawful and, therefore, not evidence of heinous criminal acti
 vities or evidence of intent to "do what the law forbids," (ii) corrup
 ting jurors' "truth seeking function," (iii) undermining any semblance
of a presumption of innocence, and (iv) capitalizing during closing ar
gument on the false evidence spawned by the false instruction's effect
on the 404(b) evidence.     As explained in §§(b), infra, the Fifth Amend
ment transgressions were antithetical to the notion of a fair trial, but
the Sixth Amendment harm was even worse.


           (i) Appellant Was Unable To Present A- Defense
     When assessing the fatal effect of the jury instructions on the
404(b) evidence, particularly the false evidence of more than a dozen
criminal molestations spawned by Exh. 53 (i.e., legal conduct but for
the false instruction), longstanding Eleventh Circuit precedent rebukes
any outcome where a defendant is unable to present a valid defense.               In
United States v. Edwards. 968 F.2d 1148, 1153 (nth Cir. 1992), that
panel held that it is reversible error to refuse a charge on a defense
theory for which there is an evidentiary foundation. To be sure, there
was no honest rationale in Appellant's case for prosecutors to persuade
the court to conceal the applicable law concerning the age of consent
for sexual activity, and there was certainly no lawful reason for sworn
"officers of the court" to advocate for a false instruction which trans
formed legal conduct into criminal acts far worse than that charged,
especially where the false evidence would in turn supply a basis to pre
sume criminal intent.

     A district court abuses its discretion in denying a requested in
struction if "(1) the instruction is correct; (2) the instruction is
not substantially covered by the given charge; and (3) the defendant's

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ability to present an effective defense was seriously impaired by the
failure to give the instruction." United States v. Sirang, 70 F.3d 588,
593 (11th Cir. 1995); United States v. Kottwitz, 200 U.S. App. LEXIS

17263 (11th Cir. 2010)(same).     Indeed, all three Sirang prongs are met

in Appellant's case, without question.        Concerning Exhibit 53 alone,

the inability to defend against the false instruction forced              jurors to

conclude that Appellant was willfully engaging in criminal conduct each

time he had sex with someone under the age of 18, even though they were

over the age of legal consent according to the governing law.               Make no

mistake, Appellant's conduct in Prague was lawful according to both U.S.

and Czech Republic law, but jurors were forced to conclude the opposite.

Asa result, it is beyond debate that the jury was "seriously impaired."
     A trial court has broad discretion in formulating jury instructions,

"as long as those instructions are correct statements of the law."

United States v. Garcia, 405 F.3d 1260, 1273 (11th Cir. 2005)(per

curiam).   The trial court in Appellant's case acted well outside its

discretion when presenting jurors with a false law that spawned false

evidence which prejudiced the defense.        No trial court has the discretion

to deceive jurors into believing material evidence of molestations exist,

when it does not exist but for a false instruction and refusal to caution,



       (ii) The Jury's Truth-Seeking-Function Was Corrupted

     The Supreme Court has consistently denounced trials were false evi

dence was presented by the government.        In Napue v. Illinois, 360 U.S.

264 (1959), the Court held that "The principle that a State may not

knowingly use false evidence, including false testimony, to obtain a

tainted conviction, [is] implicit in the concept of ordered liberty...."

The Napue Court went on to explain that "A lie is a lie, no matter its

subject, and if it is in any way relevant to the case, the district



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 attorney has the responsibility and duty to correct what he knows is
 false and elicit the truth." Id.        This concept is no less important
 in federal prosecutions involving U.S. attorneys.            Here, prosecutors
knew that the false instruction was going to force jurors to unjustly
conclude that Appellant's sexual conduct in Prague included at least
a dozen crimes.    They also knew that, in turn, the false evidence would
overwhelmingly prejudice the jury against Appellant and supply fabri
cated proof of intent to disobey or disregard the law.              Indeed, prose
cutorial intent to deceive jurors is memorialized in the government's mo
tion in limine (Doc. 406), where the corrupt agenda—i.e., that jurors
conclude that the sexual conduct in Prague-involved minors, and not
persons old enough to consent to the sexual activity—was first exposed.
     To establish a Giglio claim, Giglio v. United States. 405 U.S.
150, 154 (1972), a habeas petitioner must prove, "(1) the prosecutor
knowingly used perjured testimony or failed to correct what he sub
sequently learned was false testimony; and (2) such use was material,
i.e., that there is any reasonable likelihood that the false testimony
could have affected the judgment." Guzman v. Secretary, Department of
Corrections, 2011 U.S. App. LEXIS 21774 (11th Cir. 2011).              For Giglio
violations, "the defendant is entitled to a new trial if there is any
reasonable likelihood that the false testimony could have affected the
judgment of the jury." id.     Although Appellant's claim involved false
evidence spawned by a false jury instruction, as opposed to false evi
dence spawned by false testimony, the distinction is without a differ
ence because both events involved corruption of the jury through the
presentation of knowingly false material information which prejudiced
the defense. To be sure, had the false evidence emerged from testimony
rather than iron-clad exhibits, jurors would have at least been able to
ignore the false evidence if the witness's credibility was questionable.
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 There was no such opportunity in Appellant's case because the false
 evidence was manufactured "under the law" as presented by the court.
      Appellant contends that the more "defense-friendly" Giglio ma
teriality standard applies to him for the same reason which justified
relief in DeMarco v. United stahe«f 928 F.2d 1074 (11th Cir. 1991),
i.e., because the instructional error resulted in "the deliberate de
ception of...jurors by the presentation of known false evidence [which]
is incompatible with 'rudamentary demands of justice.'" Id. (Quoting
Giglio)* As in DeMarco, the prosecutors in Appellant's case capitalized
on the false evidence during closing argument, an act which "contri
buted to the deprivation of due process rights." Id. Indeed, the only
reason prosecutors told Appellant's jurors that condemnation was not
sought regarding any sexual conduct with persons over the age of 18-
years, is that they wanted jurors to condemn Appellant for all sexual
conduct that involved persons under 18, even if perfectly legal. This
was a "foul blow" that violates ABA canons of professional ethics.

        (iii) The Presumption of Innocence Was Eviscerated
     "A criminal defendant is presumed innocent until the government
proves beyond a reasonable doubt each element of the offense charged,
including the mental element (mens rea)." Clark v. Arizona. 165 L.Ed.2d
842 (2006). As applied to mens rea (and every other element of a
crime), the force of the presumption of innocence is measured by they
force of the showing needed to overcome it, which is proof beyond a
reasonable doubt that a criminal defendant's state of mind was what the
charge states." Id. m the instant case, prosecutors clearly knew that
they lacked proof beyond a reasonable doubt as to Movant's criminal in
tent, so they endeavored to fabricate intent by way of a false jury
instruction. To prove that the government's agenda was deliberate, one
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need only review the facts: (i) the government's intent is evinced in

the motion in limine, where the court was. asked to conceal the age of

consent laws that applied to the Prague conduct; (ii) prosecutors exe

cuted their agenda by advancing the false instruction and by rejecting
a cautionary instruction which included the age of consent laws; (iii)
prosecutors capitalized on the false evidence during their closing.
     Implicit in the concept of a fair trial is the presumption of
innocence.   Although this presumption is not articulated in the Consti
tution itseif, it is a basic component of a fair trial under the Ameri
can system of criminal justice.         See, generally, United States v. Harris,
703 F.2d 508 (11th Cir. 1983).      In Appellant's case, jurors were com
pelled to believe that he committed at least a dozen heinous crimes and,
as a result, was clearly predisposed to disobay or disregard the law,
yet each crime was wholly manufactured by the government.             This subter
fuge undeniably vitiated any legitimate presumption of innocence, with
regard to the element of intent and in general, where even the mere
presentation of a defendant in shackles (or prison garb) can be suffi
ciently prejudicial to taint a conviction. See United States v. Battle,
173 F.3d 1343 (11th Cir. 1999); Elledge v. Dugger, 823 F.2d 1439, 1451-
1452 (11th Cir. 1987).    The prejudice unleashed by a fabricated criminal
history of multiple child molestations is, without question, far more
harmful to the presumption of innocence than the mere appearance of a
defendant in handcuffs or an orange jumpsuit.            Said another way, the
notion of a "fair trial" was as far removed from Appellant's circum
stances as the East is from the West.


        (iv) Summary Regarding Fifth Amendment Violations

     It is transparent that Appellant's Fifth Amendment rights were
violated in multiple ways.     Relief in the form of a new trial is re-

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quired based on any one of these transgressions.                This is true whether
one considers the denial of Movant's right to present a defense, United
States v. Arias. 984 F.2d 1139, 1143 (11th Cir. 1993)(conviction will
be reversed if the Eleventh Circuit finds that "after examining the
entire charge, [] the issues of law were presented inaccurately,...or
the charge improperly guided the jury in a substantial way as to vio
late due process"); whether one considers the corruption of the jurors'
truth seeking function, See DeMarco (supra)(conviction must be over
turned which rests in part upon the knowing use of false testimony if
there was any reasonable likelihood that the false testimony could have
affected the judgment of the jury); whether one assesses the deliberate
sabotage regarding the presumption of innocence, Estelle v. Williams,
425 U.S. 501, 505 (1976)(the presumption of innocence is impaired in
cases where some statement or action yields the danger of "a continuing
influence throughout the trial           "); or, whether one considers the
harm caused by the government's misconduct during closing argument.
     As explained in §3, infra, had Appellant's attorney been constitu
tionally effective on appeal and enumerated these preserved claims, the
reviewing panel would have fount it absolutely necessary, based on the
aforementioned precedents, to vacate the conviction.

(b) Sixth Amendment Violation:

            (i) Appellant Was Denied An Impartial Jury
     According to the Supreme Court, in Irvin v. Dowd. 366 U.S. 717,
722 (1961), the Sixth Amendment guarantees the criminally accused a
fair trial by a panel of impartial, 'indifferent' jurors." Although
jurors in Appellant's case admitted to a bias against homosexual sexual
conduct, they agreed to set aside their bias.              Prosecutors, however,
exploited this natural bias by presenting a plethora of grapic evidence

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of Appellant's legal, private, homosexual sexual activities in Prague
 and then transmogrifying this conduct into criminal acts which were far
 more heinous than the charged crimes.        This prosecutorial misconduct
made it impossible, not virtually but actually, for Appellant to re
ceive a fair trial through an impartial jury, especially where jurors
were also forced to conclude Appellant lied during opening when in
sisting that his conduct in Prague was legal, which was the truth but
for the false jury instruction.      As a result, the verdict must be set
aside and a new trial must be held based on applicable laws.

     The Supreme Court has recognized that, in terms of the Sixth Amend
ment, "[d]ue process means a jury capable and willing to decide the case
solely on the basis of the evidence before it, and a trial judge ever
watchful to prevent prejudicial occurrences and to determine the effect
of such occurrences when they happen." Smith v. Phillips, 455 U.S. 209,
217 (1982).   Appellant had neither: his jurors were poisoned by extra
neous, false, material evidence placed before them by three U.S. prose
cutors who knew better; and, the trial judge, who was begged by the
defense attorney to tell jurors the truth about the age of consent laws,
let it all happen.    The false evidence corrupted the verdict in two dis
tinct ways: it established false proof of intent, and it spawned unbridled
contempt for Appellant in the eyes of jurors.           The notion that an im
partial jury could emerge after such a "404(b) slaughter" is absurd.
     The jury is tasked to determine guilt solely on the basis of the
evidence and the court's instructions as to applicable law.               Turner v.
Louisiana, 379 U.S. 466, 472-73 (1965).         Yet, in Appellant's case, the
jury was forced to ignore actual evidence while embracing fictional evi
dence spawned by misrepresentation of the law.           Where the Supreme Court
has unambiguously defined "an impartial jury" as one that consists of
nothing more than "jurors who will conscientiously apply the law to the
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facts," Wainwright v. Witt, 469 U.S. 412 (1985), the question begged
by Appellant's circumstances is this: How could his jurors be impartial
when they were instructed to misapply the law and ignore the facts?
     In Parker v. Gladden, 385 U.S. 363, 366 (1966), the Supreme Court
found that a baliff's comments to three jurors, "Oh, that wicked fellow

petitioner, he is guilty," deprived the defendants of a fair and impar
tial trial jury.    In reversing the conviction, the Gladden Court noted
that, "petitioner was entitled to be tried by 12, not 9, or even 10,
impartial and unprejudiced jurors." Id. at 366.           Here, rather than a

baliff, it was the trial judge, through the government's false instruc
tions, telling jurors (not some of them, but all of them) just how
"wicked" Appellant was, given his "crimes" in Prague and his dishonest
efforts to convince jurors the conduct was lawful.          No defendant could

survive this brand of judicially manufactured taint, a taint which un
doubtedly permeated the deliberative process in its entirety.               As a
result, the verdict must be set aside.


 (ii) Appellant Was Denied The Right To Confront/Rebut Evidence
     The Sixth Amendment guarantees a criminal defendant the right to
confront evidence at trial. Davis v. Alaska, 415 U.S. 308, 317 (1974)
(the prosecution moved for a protective order to prevent any reference,
in the course of cross examination, to the juvenile record of a prose
cution witness; effective cross examination thwarted; conviction reversed);
Crawford v. Washington. 541 U.S. 36, 53-54 (2007)(inability to cross-
examine witness who made testimonial statements introduced at trial).
And, although the Sixth Amendment guarantees a defendant a "compulsory
process for obtaining witnesses in his favor," U.S. Const, amend. VI,
"Implicit in this right—as well as in the Fifth Amendment right to due
process—is the idea that criminal defendants must be afforded the oppor
tunity to present evidence in their favor." United States v. Berkman,
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 433 Fed. Appx 859, 864 (11th Cir. 2011 )(quoting United States v. Hurn.
 368 F.3d 1359, 1362 (11th Cir. 2004)). Here, Appellant was not only
 prevented from "cross examining" (more aptly, "rebutting") the
 evidence generated       by     the false instruction, but was prevented from
 presenting his own instruction that proved his Prague conduct lawful.
      According to the Eleventh Circuit, a district court's exclusion
of a defendant's evidence violates the Compulsory Process and Due Pro
cess Clause guarantees in four circumstances, two of which apply in
Appellant's case.     United States v. Hurn. 368 F.3d 1359, 1363-65 (11th
Cir. 2004).    First, "A defendant must generally be permitted to intro
duce evidence directly pertaining to any of the actual elements of the
charged offense or affirmative defense                " Second, "A defendant's
right to a fair trial is violated when the evidence excluded is material
in the sense of a crucial, critical, highly significant factor." Id.
(Quoting United States v. Ramos. 933 F.2d 968, 974 (11th Cir. 1991));
see also Washington v. Texas. 388 U.S. 14, 23 (1967).                  Jurors had a cri
tical, crucial need to know that the Prague conduct was legal, because
this would have prevented any finding of a criminal history/propensity
based on fictional information,           it also, of course, would have allowed
jurors to remain impartial in the deliberations in general. As explained
in United States v. Sheffield. 992 F.2d 1164, 1170 (11th Cir. 1993),
even collateral matters that are relevant to the mens rea element of
the offense must be permitted at trial.             And, in United States v. Lank-
ford, 955 F.2d 1545 (11th Cir. 1992), the conviction was reversed be
cause "the district court had prevented [testimony] that the defendant's
belief in the legality of his acts was reasonable." Id. at 1550. The
jury in Appellant's case needed to understand that "intent to disobey
or disregard the law" should not naturally be inferred based on the ju
dicially spawned evidence of criminal recidivism.
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(c) The Fifth And Sixth Amendment Violations Amount To Structural Error

       Structural errors are fundamental defects in the trial mechanism

that affect the entire "framework within which the trial proceeds,

rather than simply an error in the trial process itself." Arizona v.

Fulminante, 499 U.S. 279, 310 (1991)(discussing five constitutional

errors that are structural).      The determination of whether an error

is structural turns not so much on the particular rule violated, as on

whether the error was of sufficient consequence that the criminal pro

cess "cannot reliably serve its function as a vehicle for determining

guilt or innocence." Id. at 310.         Appellant contends that although the

toxic instructions in his case were presented           'during the trial,'         and,

as such, give the appearance of "trial error," the effect of the impro

per instructions clearly manifests        structural error because the lack

of an impartial jury and the inability to confront/present evidence

guarantees that the "framework" of the trial process "[could not] reliably

serve its function       " Rose v. Clark, 478 U.S.       570, 577-78 (1986).

       The Supreme Court's analysis in United States v. Gonzalez-Lopez,

548 U.S.   140 (2006), which dealt with the denial of a Sixth Amendment

right to counsel of choice, is informative, where it distinguished                   be

tween violations of Due Process Clause rights (which require that preju

dice   be established) and violations of Sixth Amendment rights which

specifically exist "to ensure a fair trial." Id.            The Court rejected the

government's    request that relief not be granted unless the trial was

found to be unfair.      Instead, it held that the deprivation of counsel

of choice spawned "consequences that are necessarily unquantifiable and

indeterminant, [thus qualifying] as 'structural error.'" Id. (Quoting

Sullivan v. Louisiana,     508 U.S. 275, 282 (1993)(the jury guarantee being

a "basic protectiofn]" whose precise effects are unmeasurable)).



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     Appellant argues that the "consequences" of the false jury in
struction (i.e., the false evidence of more than a dozen criminal

molestations) are also necessarily "unquantifiable and indeterminant"

as far as juror bias/prejudice is concerned, because there is no way
to know the extent of juror contempt.       This remains true even if one

is able to determine, specifically, to what degree the jury's delibera
tions as to "intent to disobey or disregard the law" was poisoned..

Indeed, the natural contempt for any defendant under the instant cir

cumstances would certainly be substantial, and such             sentiments would

pervade the entire trial because they would taint all deliberations at

trial.   Critical to the analysis of structural error: How can one de

termine the breadth or depth of each juror'sprejudice as a result of

the damning molestation evidence fabricated out of whole cloth?

    Had Appellant's attorney properly preserved a claim of structural

error at trial, and enumerated this issue on appeal, prejudice would

have been presumed per Brecht v. Abrahamson, 507 U.S. 619 (1993)(struc

tural defects in the constitution of the criminal trial mechanism defy

analysis and require automatic reversal of a defendant's conviction

during collateral review, because such errors infect the entire trial

process).   The question here—What precedent/standard applies in colla
teral review when structural errors are not preserved or enumerated?—

was answered in Purvis v. Crosby, 451 F.3d 734 (2006).              In Purvis, the

panel held that even in cases (such as Appellant's) where there is a

legitimate claim of ineffective assistance of counsel, the presumption

of prejudice does not apply unless it satisfies one of the three excep

tions to the Strickland v. Washington mandate that deficient performance

and prejudice be proved.      Strickland v. Washington, 466 U.S. at 692

(citing United States v. Cronic, 466 U.S. 648, 659 (1984)). As explained

in §3(a), infra, the instant circumstances justify an exception.
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2. The District Court's Assertion Of "Prior Litigation" Is Unsupported

     The district court denied review on the merits by asserting that

Ground-5 involved "arguments that were raised or could have been raised

in Kapordelis's direct appeal and therefore are not a proper subject

for this § 2255 petition." (Doc. 567, p. 12).          Appellant contends that

the assertion of   prior litigation is clearly erroneous, and offers the

following argument to earn a full review by the appellate court.

     First, the district court acknowledges that the issue presented

by Mr. Samuel on appeal involved "Whether the Trial Court Erred In Per

mitting the Government to Introduce 404(b) Evidence Relating to Appel
lant's Legal Sexual Conduct In Prague That Had No Legal Relationship
to the Charged Offenses." (Doc. 567, p. 2).         As such, it is clear that

the district court recognizes that the appellate panel on direct review
did not analyze the constitutional harm caused by the false jury instruc
tion's effect on the 404(b) evidence, which is the crux of the § 2255
claim under Ground-5.    As the June 1, 2009, Eleventh Circuit decision me

morializes, the appellate panel did not address (i) any Fifth or Sixth

Amendment violation caused by the false evidence of child molestation

produced by the false jury instruction; (ii) the effect of the court's

refusal to present a cautionary instruction which included the age of
consent laws that governed the Prague conduct; (iii) any of the criti
cal exhibits, specifically Exhibits 46-61, which evinced the harm caused
by the false instruction and failure to caution; (iv) whether the trial

errors amounted to structural error wherein prejudice must be presumed;
or (v) whether plain error analysis under Rule 52(b) would justify re
lief to the extent that trial counsel failed to object below.              Appel
lant faults   his appellate counsel for failing to enumerate each of
these issues on appeal, even if it required self-condemnation regarding
performance at trial.

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     The concept of "prior litigation" was specifically addressed in
both United States v. Nyhuis, 211 F.3d 1340 (11th Cir. 2001), and

Thomas v. United States, 757 F.3d 1300 (11th Cir. 2009).             Although the
Thomas Panel did not illuminate the dividing line between habeas mo

tions that bring "the same claim, different day" (hence ignore it),
versus a materially different claim (hence consider it), the Nyhuis

Panel did broach the issue as follows:

     We discern no fact or other evidence underlying the present due
     process claim which was not raised by Nyhuis in his prior immu
     nity claim." Nyhuis, 211 F.3d at 1343

This Nyhuis principle applies in Appellant's case because Ground-5 in

volves several unraised facts/issues which frame a materially different

claim than the one considered on direct appeal.          In short, the habeas

court must address (i) the false jury instruction which was not enumera

ted as error on direct appeal;    (ii) the effect of the false jury instruc

tion on the 404(b) evidence, specifically Exhibits 46-61            which were

waived by the appellate panel because Mr.       Samuel failed to identify them;

(iii) the effect of the failure to caution, which was deemed an issue

"in passing" and summarily dismissed in a footnote during direct appeal

(Kapordelis, 569 F.3d at 1314 & n, 19); (iv) the Fifth and Sixth Amend

ment violations which resulted from the aforementioned errors;              (v) the

question of whether structural error is manifest; and (vi) what the out

come would have been under the Chapman v. California "harmless error"

standard, or under a plain error burden to the extent that Appellant's

attorney failed to object at trial. These are the facts/issues that make

the §2255   claim materially (and critically) different than the far

weaker argument that Mr. Samuel advanced on appeal.

     Importantly, the district court's assessment of the critical exhi

bits (Doc. 567, pp. 25-26) is clearly erroneous, where it concludes that

"Because Kapordelis's argument on direct appeal was that the testimony

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 and exhibits were erroneously admitted for the same reasons, any

 failure to specifically cite the exhibits was clearly harmless." (Em

 phasis added).    To be sure, the record proves that the trial testimony
 was purely speculative in terms of whether any sexual conduct actually
 took place in Prague, i.e.,    there was no testimony that Appellant was

 ever seen engaged in sexual acts with anyone.            The exhibits, however,

 graphically described Movant's sexual activities and identified his

.sexual partners by their ages.     By comparison, the exhibits-were far

 more poisonous in the face of the false jury instruction because they
 revealed more than a dozen sexual acts with persons under the age of

 18 but over the age of legal consent. (See Doc. 536, Att. 6, pp. 20-

 23, to apprehend the harm caused by the exhibits).              The point is this:

 It is irrelevant     that the exhibits and testimony were admitted for
 the same purpose; what matters is that the exhibits which Mr.               Samuel

 failed to identify evinced the overwhelming prejudice resulting from
 the false instruction's effect on 404(b) evidence. Where (i) all exhibits
 were deemed "waived" by the appellate panel, and (ii) witness testimony
 evaluated   during appeal manifested no prejudice on its own, review
 of the exhibits during § 2255 proceedings is the only way for the
 court to acknowledge the constitutional harm and provide proper relief.
      Second, the assertion of "prior litigation" is without merit be

 cause the appellate panel foreclosed a proper harmless-error review

 (i.e., one based on Rule 52(a), and the precedents in United States v.

Olano, Neder v. United States, and Chapman v. California), and conse

 quently failed to provide a "full and fair" or "meaningful" review,
based on the false premise that it was Appellant who invited the error.
 (See Kapordelis, 569 F.3d at 1312-14 for details).          Make no mistake, the
government, and not Movant, sought to introduce           the graphic evidence

about Prague.     Specifically, (i) the government submitted a motion in
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limine pre-trial seeking to admit this evidence, and the court granted
the motion with regard to the relevant exhibits; (ii) Prosecutors intro
duced the Prague evidence (i.e., the details of the exhibits) to jurors
during their opening statement; (iii) Appellant responded, during his
opening (which followed), to the evidence already presented by the govern
ment.     The transcript memorializes the sequence of these events.
        Simply put, the appellate panel clearly erred (factually) when it
concluded that Appellant "preemptively presented the fact of his conduct
in Prague before the jury." Kapordelis, 569 F.3d at 1414, n. 19.                And,
the panel clearly erred (legally) when it declined, on the basis of the
aformentioned false premise, "to point a finger at the district court
for some perceived failure to protect Defendant from any prejudice re
sulting from the presentation of this evidence." Id.              Indeed, in the
absence of the false premise and false legal conclusion, the panel would
have conducted itself according to Fed.R.Crim.P. 52(a), i.e., by applying
a legitimate harmless-error analysis and granting a new trial.
        The "invited error doctrine," according to precedent, stands for the
common sense    proposition, that "someone who invites a court down a prim
rose path to error should not be heard to complain that the court accepted
its invitation and went down that path." Doe v. Princess Cruise Lines,
Ltd., 657 F.3d 1204 (11th Cir. 2011).      Under this doctrine, "the court
will generally not review an error induced or invited by a party through
the submission of an incorrect jury instruction to the judge which passed
on to the jury." United States v. Thames, 642 F.2d 1333 (11th Cir. 2011).
However, in the instant case the government not only admitted the evi
dence concerning Prague first, it then persuaded the court to present the
false jury instruction which morphed the legal conduct into evidence of
criminal activity from which intent was to be inferred.             Appellant never
invited the government to deceive jurors; the "party" causing the harm
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was the government, and the "party" complaining of harm is Appellant.
To be sure, even if (arguendo) Appellant introduced the Prague evidence
of legal, private, homosexual sexual conduct (which he did not), he did
not invite the government to present the false jury instruction.                    This
was the act which perverted the evidence and prejudiced the defense.
     Third, a claim of "prior litigation" is without merit because
binding precedent holds that the "Law of the Case Doctrine" does not
apply if (inter alia) "a decision [] is clearly erroneous and, if imple
mented, would work a manifest injustice." Litman v. Mass Mut. Life Ins.
Co^, 825 F.2d 1506, 1510 (11th Cir. 1987); Thomas v. United States. 527
F.3d 1300, 1304 (11th Cir. 2009).        Here, the panel clearly erred by
foreclosing a legitimate harmless-error review, and manifest injustice-
defined as plain error that affects substantial rights and the funda
mental fairness of judicial proceedings—is undoubtedly present where
Appellant's conviction would have been vacated but for the failure to
assess harmfulness based on the deprivation of constitutional rights.
    Fourth, a claim of "prior litigation" is without merit because the
"Law of the Case Doctrine" does not foreclose issues which were presented
on appeal but not resolved, Luckey v. Miller, 929 F.2d 621 (11th Cir.
1991), nor does it include all questions "which were present in a case
and which might have been decided," Lehrman v. Gulf Oil Corp., 500 F.2d
659, 662-63 (5th Cir. 1974).     Here, the appellate panel was specifically
tasked by precedent to review jury instructions "as a whole" to determine
whether, and to what degree, the jury was misled.           United States v.
Johnson, 139 F.3d 1359, 1366 (11th Cir. 1998).          Nowhere, however, did
the panel even hint that it considered the effect of the false jury in
struction on deliberations.     Thus, the claim of "prior litigation" rings
hollow, under the circumstances.        Habeas review can right this wrong.
    Fifth, a claim of "prior litigation" lacks merit because the "Law

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of the Case Doctrine" does not preclude review if considerations of sub
stantial justice requires it." Westbrook v. Zant, 543 F.2d 764, 768
 (11th Cir. 1984)(cited in Thomas, 572 F.3d at 1304).              For each of the
myriad constitutional violations resulting from the instructional error,
substantial justice requires that the habeas court protect the integrity
of judicial process by providing plenary review and, ultimately, relief.
     In closing, it should be noted that statutory authority for habeas
review is provided at 28 U.S.C.S. § 2254(d), where § 2254(d)(1) allows
review when a court's decision is contrary to, or involves an unreasonable
application of, Supreme Court precedent, and where § 2254(d)(2) allows
review when a court's decision is based on an unreasonable interpretation
of the facts in the record as a whole. Specifically, the appellate court's
failure to conduct a "harmless beyond a reasonable doubt" analysis, based
on a misplaced "invited error" assertion, ignores Chapman, piano, and
Neder precedents.   Also important, the court's finding of invited error
is itself clearly based on an unreasonable interpretation of the record,
where the transcript proves that the government was the "inviting" party.
Indeed, where the government invokes the notion of finality (Doc. 553,
p. 23) to thwart collateral review despite clear errors on direct appeal,
Appellant urges consideration of the Supreme Court's logic in Jackson v.
Virginia, 433 U.S. 307, 323 (1975), where it cautioned that the duty of
a federal habeas court to appraise a claim that constitutional error
occurred in a criminal proceeding reflects the belief that the finality
of a deprivation of liberty through the invocation of the criminal sanc
tion is not to be achieved at the expense of a constitutional right. As
applied here, the appellate court should be eager to correct its earlier
error and see to it that the Fifth and Sixth Amendment violations in
Appellant's case are rectified.        See §4, infra, for further argument.


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3. Procedural Default Is Negated By Appellant's Substantive Claim Of
   Ineffective Assistance Of Counsel Under Strickland v. Washington

     In defense of the district court's assertion of procedural de

fault (Doc. 567, p. 12), Appellant argues that his substantive claim

of ineffective assistance of appellate (and, to a limited extent, trial)

counsel negates the procedural bar and compels plenary review of Ground-5

on the merits.   Strickland v. Washington, 466 U.S. 668,          687 (1984); see

also Cross v. United States, 893 F.3d 1287, 1290 (11th Cir. 1990)(in or

der to determine whether the failure to raise a claim on appeal resulted

in prejudice, the merits of the omitted claim must be reviewed).                  There

is no indication that the district court reviewed the merits of Ground-5

at any point, not even when the court was addressing Appellant's claim
of ineffective assistance under Ground-16 (Doc. 567, pp. 23-29).

     By alleging ineffective assistance of appellate counsel, and advan

cing the underlying claims in Ground-5 as proof of Mr. Samuel's defi
cient performance on appeal (and at trial, to the extent that he failed

to preserve error for a more favorable appellate review), Appellant is
subjected to the Strickland standard, which applies a two pronged test:
     First, the defendant must show that counsel's performance was
     deficient. This requires a showing that counsel made errors so
     serious that counsel was not functioning as the "counsel" guaran
     teed the defendant by the Sixth Amendment. Second, the defendant
     must show that the deficient performance prejudiced the defense.

     Mr. Samuel's ineffective assistance on appeal requires one to

assess the outcome had he been competent and enumerated a claim alle
ging Fifth and Sixth Amendment harm resulting from the false evidence
spawned by the false jury instruction and failure to caution.              Such a
review would necessarily include an assessment of the critical exhibits
(specifically, Exhibits 46-61) that Mr. Samuel failed to identify in

his initial brief, i.e., the exhibits which were deemed "waived" by the

appellate panel as a result of Mr. Samuel's ineffectiveness.


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        The record is clear: Mr. Samuel objected at trial to Government
Instruction #17, which falsely instructed jurors that it was unlawful
to engage in sexual activity with persons under the age of 18 (i.e.,
under the age which, according to the court, defined "a minor" for
purposes of the instructions).      Mr. Samuel also objected to the court's
refusal to caution jurors about the age of consent laws which governed
Appellant's sexual activity in Prague.        Where Mr. Samuel clearly failed,
however, was on appeal.     Specifically, had Mr. Samuel asked the panel
to assess the harm of the false instruction as to Exhibit 53 alone, it
would have had no choice but to vacate the conviction and grant a new
trial based on longstanding Eleventh Circuit precedent.             See United

States v. Arias, 984 F.2d 1139, 1143 (11th Cir. 1993); Bass v. Int'l

Brotherhood of Boilermakers, 630 F.2d 1058 (5th Cir. 1980)(new trial

is required if "trial judge's instructions to the jury, taken as a
whole, give a misleading impression or inadequate understanding of the

law and the issues to be resolved..."). (See §1(a), supra, for details
of this argument; see also Doc. 588, pp. 25-29).

        Although the government concedes in its § 2255 response (Doc. 553,
p. 20) that the false jury instruction was "a ripe claim for appellate

review," Appellant alleges that Mr. Samuel was objectively unreasonable

(i.e., incompetent) for failing to enumerate the claim, and choosing

instead to present a far weaker claim alleging that the 404(b) evidence

should not have been admitted because it was irrelevant.             Professional

competence, which is what Appellant paid a small fortune for, required

Mr. Samuel to recognize that unconstitutional harm did not result sim

ply because the 404(b) evidence was admitted, but, rather, because the

404(b) evidence of legal gay sex was morphed into false evidence of

heinous child molestations that did not exist but for the false instruc

tion.

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           (a) Prejudice Under Strickland Is Transparent

      The Strickland holding is unambiguous: to establish prejudice,
"the defendant must show that, but for counsel's unprofessional errors,
the result of the proceeding would have been different." Strickland.
466 U.S., at 694.    As the Eleventh Circuit has explained, if it is
decided "the omitted claim would have had a reasonable probability of
success, then counsel's performance was necessarily prejudicial be
cause it affected the outcome of the appeal." Eagle v. Linahan. 279
F.3d 926, 933 (11th Cir. 2011)(citing Cross, 893 F.2d at 1290).                   A
reasonable probability, according to the Strickland Court, is a pro
bability sufficient to undermine the confidence in the outcome. Strick
land, 466 U.S., at 694.

     Based on these holdings, prejudice must be analyzed by determining
the outcome on appeal had Mr. Samuel enumerated a claim which (i) iden
tified the Fifth and Sixth Amendment harm caused by the false jury in
struction's effect on the 404(b) evidence, specifically Exhibits 46-
61; (ii) alleged additional harm caused by the court's refusal to cau
tion jurors as to the age of legal consent for sexual activity in the
absence of picture taking (the appellate panel summarily dismissed Mr.
Samuel's effort to argue this matter, by branding the claim one "in
passing" and relegating it to a footnote, Kapordelis 569 F.3d at n. 19);
(iii) identified the offending exhibits by number, sufficient to provoke
appellate review rather than waiver; (iv) asserted structural error,
given that the integrity of the trial was sabotaged fundamentally; and,
(v) insisted on plain error review to the extent that trial counsel
failed to object to any of the relevant matters.

     The outcome, of course, is transparent: A new trial would have
been granted whether due to (i) Appellant's inability to present a de
fense; (ii) the Giglio/Napue violation resulting from a corruption of

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the jury's truth-seeking function; (iii) the fabrication of evidence
of intent to "disobey or disregard" the law; (iv) the inability to
confront or cross-examine evidence; (v) the fact of a non-impartial
jury; (vi) the vitiation of a presumption of innocence; or              (vii) the
presence of structural error through which the jury's deliberations
were rendered constitutionally unreliable.         In short, prejudice abounded,
under Strickland, whether one assesses harmless-error using the Chapman
v. California standard of "harmless beyond a reasonable doubt," or using
Rule 52(b) which reverses "error that is plain and that affects sub
stantial rights." See United States v. Olano, 507 U.S. 725 (1985)(citing
United States v. Young. 470 U.S. 1, 15 (1985)).
     Appellant's position is that prejudice should be assessed under
the Chapman harmless error burden for three distinct reasons.               First,
to the extent that Mr. Samuel preserved the error by objecting at trial
(this would apply to the question of whether Appellant's due process
rights were violated based on the inability to present a defense due to
the false jury instruction and failure to caution), the "harmless beyond
a reasonable doubt" burden is specifically called for under Fed.R.Crim.
P. 52(a), and this is the analysis which would have taken place had Mr.
Samuel been effective on appeal and enumerated the claim and identified
the exhibits.

     Second, to the extent that Mr. Samuel failed to specifically object
at trial (this would apply to the claim of structural error which Mr.
Samuel failed to allege at trial), Movant's claim of ineffective assis
tance of trial counsel requires that the court relieve any prejudice re
sulting from a stricter harmless-error burden on appeal, in other words,
the habeas court should vacate the conviction if harmfulness would have
been noticed under the Chapman precedent, even if it would not have been
noticed under plain-error review.        Fortunately for Appellant, the struc-

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tural error in his case would justify relief under both Rule 52(a)
and 52(b).

      Third, one must not lose sight of the fact that it was the
appellate panel on direct appeal that foreclosed a proper Chapman
harmless-error analysis based on the false premise that Appellant
invited the error (see §2, supra). In short, the denial of a meaning
ful appellate review gives the court an opportunity to revisit the
issue and apply Chapman, as it should have done initially.

             (b) Deficient Performance Is Clearly Manifest

     In terms of Mr. Samuel's deficient performance, it is clear that
there was no strategic or tactical reason to explain his failure to
claim, on appeal, the multiple violations of Appellant's constitutional
rights at trial, and there was certainly no objectively reasonable
basis for Mr. Samuel to enumerate a far weaker claim concerning "Whe-
ter the Trial Court Erred in Permitting the Government to Introduce
Rule 404(b) Evidence Relating to Appellant's Legal Sexual Conduct in
Prague That Had No Legal Relationship to the Charged Offenses." (Doc.
567, p. 3).     "Effective advocates 'winnow out' weaker arguments even
though the weaker arguments may be meritorious." Heath v. Jones, 941
F.2d 1126, 1130-31 (11th Cir. 1991)(citing Jones v. Barnes, 463 U.S.
745, 751-52 (1983)).     "Generally, only when the ignored issues are
clearly stronger than those presented, will the presumption of effective
assistance of counsel be overcome." Gray v. Greer, 800 F.2d 644, 646
(7th Cir. 1986).     Appellant has overcome the presumption of effective
assistance because the omitted claim was clearly stronger than the one
presented.     Incompetence is also exemplified by Mr. Samuel's failure to
identify the critical exhibits which evinced the constitutional harm
spawned by the false instruction.



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     As in Eagle v. Linahan (supra), "Where, as here, appellate coun
sel fails to raise a claim on appeal that is so obviously valid that
any competent lawyer would have raised it, no further evidence is

needed to determine whether counsel was ineffective for not having done
so." Eagle, 279 F.3d at 933.     And, even though there has never been a
hearing to determine why Mr. Samuel raised the far weaker argument on
appeal, rather than the far more prejudicial issue under the U.S. Con

stitution, "no conceivable reason that [Mr. Samuel] might have offered
would have made [his] failure to pursue the claim reasonable. [His]
failure to raise it, standing alone, establishes his ineffectiveness." Id.

    According to the Strickland Court, the benchmark for judging any

claim of ineffectiveness must be whether counsel's conduct so under

mined the proper functioning of the adversarial process that the trial

cannot be relied on as having produced a just result.            In the instant

case, not only did Mr. Samuel sabotage the adversarial process by not

objecting to structural error at trial, but he failed to enumerate on

appeal the most important claim imaginable: violations of both the

Fifth and Sixth Amendments which produced a fundamentally unfair trial.

Simply put, the very errors that Mr. Samuel failed to raise were ones

that sabotaged any opportunity for an "adversarial process." Indeed, the

false instruction compelled jurors to embrace the government's fictional

evidence of criminal conduct while ignoring the truth of the matter.

There is nothing adversarial about a process through which one party in a

case convinces the court to violate the province of the jury through

deliberate misrepresentation of the law.        In fact, such a process per

verts the core Strickland expectation:         "A fair trial is one in which
evidence subject to adversarial testing is presented to an impartial

tribunal for resolution of issues defined in advance of a proceeding."

Strickland, 466 U.S., at 685 (emphasis added).

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                     (c) Prejudice Should Be Presumed

       Despite having established prejudice under Chapman and Rule 52(b),
as Strickland v. Washington requires for the typical IAC claim, Appel
lant contends that prejudice should be presumed because he has met one
of the Cronic exceptions to Strickland's mandate that prejudice be
proved. (See §1(c), supra).        In a nutshell, prejudice should be pre

sumed based on (i) Appellant's inability to examine or cross-examine

the Prague evidence due to the false instruction, and (ii) the fact of

a    non-impartial jury spawned by the false evidence of heinous molesta

tion crimes, as opposed to "a panel of impartial, indifferent jurors."

Irvin v. Dowd, 366 U.S. 717, 722 (1961).           To be sure, Mr. Samuel was

constitutionally ineffective for not alleging, at trial, that the in

structional errors were structural errors that prevented a fair trial,

even though he warned that "[Jurors] need to know that its not a crime

to [engage in sexual activity with someone under the age of 18, in the

absence of picture taking]. What's wrong with telling them the truth

about that?" (Doc. 536, Att. 6, pp. 8-12).

       The question begged is this: Was it even possible for a competent

attorney, had one been present, to participate in an adversarial pro

cess on behalf of his client, under circumstances where the court it

self thwarted effective cross examination (or examination, for that

matter) of the evidence at trial?          The Supreme Court, in Davis v.

Alaska, 415 U.S. 308 (1974), says NO!          Specifically, the Davis Court

confronted a case where prosecutors had moved at trial for a protective

order to prevent any reference, in the course of cross-examination,

to material evidence.       On certiorari,   the Court reversed and remanded.

In Chadwick v. Green, 740 F.2d 897 (11th Cir. 1984), the Eleventh Cir

cuit specifically refers to Davis as one of the cases in Cronic which

warranted a presumption of prejudice because "the adversary process

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itself [wasrendered] presumptively unreliable [by the circumstances]."
Id.   In Appellant's case, the presumption of prejudice is even more
justified, since he was denied not only a credible opportunity to
rebut the false evidence, but an opportunity to present evidence in
the first place, i.e., iron clad proof that the Prague conduct was law
ful under both Czech and U.S. law.

      As the Chadwick Panel explained, 740 F.2d at 901:

      In Cronic, the Court carved out a narrow exception to [Strickland's]
      general rule that a defendant must demonstrate prejudice: a showing
      of prejudice is not necessary if there are circumstances that are
      so likely to prejudice the accused that the cost of litigating
      their effect in a particular case is unjustified. Circumstances
      which would warrant a presumption of prejudice from counsel's in
      effectiveness are those where "the adversarial process itself is
      [rendered] presumptively unreliable [by the circumstances]." The
      Court cited as examples the cases of an accused who was denied
      counsel at a critial stage of the trial and a defendant whose law
      yer had been denied the right to effective cross-examination. It
      is within these narrow range of cases examplified by such circum
      stances that the petitioner's ineffective assistance claim must
      fall to gain relief without the showing or prejudice. (Internal
      quotations and citations omitted)(emphasis added by Appellant).
Appellant's circumstances fall clearly within the "narrow range"
of circumstances requiring the presumption of prejudice, because the

court acquiesced to the prosecutor's demand that jurors be deceived,

and this deception stripped the trial of any "adversarial" potential.

Add to this defect the fact of juror bias, and the notion that there

was an adversarial forum producing an objective outcome is as prepos
terous as it is disturbing.     This is why a new trial is essential.

      In Strickland, the Supreme Court was willing to presume prejudice

in three circumstances      because they "involve impairments of the Sixth

Amendment right that are easy to identify and, for that reason and be

cause the prosecution is directly responsible, easy for the government

to prevent." Id., at 2067.     Although it might be proper to fault Mr.
Samuel for not objecting "loud enough" or "clear enough" at trial and

on appeal, the government is to blame for corrupting the process itself.

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       In Blanco v. Singletary, the Eleventh Circuit again addressed

the Supreme Court's binding precedent concerning the presumption of

prejudice, and reinvigorated the circuit's Chadwick holding:

       Exceptions to the [Strickland v. Washington][prejudice] stan
       dard are appropriate only when the circumstances would offend
       basic concepts of due process. When such prejudicial circum
       stances exist, the concern is with procedural fair trial re
       quirements, and not with whether the defendant would not have
       been found guilty. Blanco v. Singletary, 943 f.3d 1477, 1496
       (11th Cir. 1991)(quoting Chadwick)(emphasis by Appellant).

The circumstances in Appellant's case not only offend "the basic con

cepts of due process," but offend the core Sixth Amendment rights that

establish prerequisites for a fair trial.         Where it was rather easy in

Singletary to determine the particular prejudice flowing from the

errors during trial, it is impossible to know the extent to which

jurors in Appellant's case were poisoned by the false evidence of

molestation crimes spawned by the false jury instruction.              Indeed, the

only prejudicial effect that can be ascertained for certain is limited

to the fabricated evidence of intent, which was substantial.


                               (d) Summary

       Appellant's claim of ineffective assistance of counsel (appellate,

and, to a limited extent, trial), under Ground-16, justifies habeas re
lief where Ground-5 was advanced as proof of Mr. Samuel's objectively
unreasonable and incompetent performance.         No lawyer can claim that he

has attempted to represent an adversarial posture where it is clear (i)

both    Fifth and Sixth Amendment violations poisoned the jury's truth-

seeking province, and (ii) he failed to claim the errors on appeal (or

preserve them at trial, to the extent relevant).           Although it is easy

to adduce sufficient prejudice to warrant that the conviction be vaca

ted, prejudice must be presumed based on Strickland and Cronic.




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4.   Any Procedural Default Is Overcome Based On The Existence Of "Cause
     And Prejudice" Under Massaro v. United States                      :

       The general rule is that "claims not raised on direct appeal may

not be raised on collateral review unless petitioner shows cause and

prejudice." Massaro v. United States, 538 U.S. 500, 504 (2003). The

burden is on the petitioner to show that he was justified in failing

to raise an issue on direct appeal and that he suffered actual preju

dice from the alleged error that he failed to plead. Mills v. United

States, 36 F.3d 1052, 1055 (11th Cir. 1994).           To demonstrate cause for

procedural default, Appellant must show that "some objective factor

external to the defense" prevented him (or his counsel) "from raising
claims on direct appeal and that this factor cannot be fairly attri

butable to [Appellant's] own conduct." Lynn v. United States, 365 F.3d

1225, 1235 (11th Cir. 2004); see also Murray v. Carrier, 477 U.S. 478,
488 (1986).

      Appellant alleges that the "external factor" which provides "cause"

in his case, apart from the claim of IAC addressed supra, pertains to

the appellate panel's (on direct appeal) false premise of "invited error'

and the consequences of that false premise: specifically, the Eleventh

Circuit failed to conduct a "full and fair" or "meaningful" appellate
review, i.e., one which applied a Chapman v. California harmless error

analysis.     The details of this claim are addressed in §2 (supra), pp.
22-24.   Suffice it here to say that habeas review is required based on

28 U.S.C.S. § 2254(d)(2)(facts not supported by a reasonable interpre
tation of the record as a whole), and the binding precedents in Lynn and
Carrier (supra).     In short, Appellant's attorney was unable to object
to the appellate panel's unreasonable fact-finding because it did not
present until after the appeal had been filed.           The § 2255 venue is a

proper one to vet this issue.

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     The facts are clear: (i) it was the government, and not Appellant,
who moved the court to introduce the Prague evidence through its motions
in limine; (ii) the court granted the government's request and admitted
the text documents prior to opening statements (Tr.Tr., pp. 81-85); (iii)
the government addressed the Prague evidence during its opening state
ment, which preceeded Appellant's opening statement (Tr.Tr. pp. 104-
105); (iv) Appellant only responded, during his opening statement which
followed; to the government's evidence (Tr.Tr., pp. 131-135).                 Simply
put, there was no reasonable basis for the appellate court's finding
that "Defendant preemptively presented the fact of his conduct in Prague
before the jury," or that "Defendant chose to focus the jury's atten

tion on his conduct in Prague in his opening argument, well before the

district court ruled on his objection, and throughout the trial." Kapor

delis, 569 F.3d at 1314 & n.19.         In sum, "cause" is clearly established.
     Actual prejudice is transparent, because the appellate court

used the false premise of "invited error" to avoid a legitimate harm

less error analysis as required under Fed.R.Crim.P. 52(a), and to avoid

a plain error review under Rule 52(b).          Had the appellate court not

unreasonably found that any error was invited, it would have recognized

that the government failed to meet its burden of proving harmlessness

beyond a reasonable doubt under Chapman v. California, 386 U.S.                18

(1967); Neder v. United States, 527 U.S. 1, 15 (1999): United States v.

Olano, 507 U.S. 725, 734-34 (1993).         Indeed, Appellant specifically

rebutted   (in his reply on direct appeal) the government's bogus asser

tion (in its responsive pleading) of an invited error, and he also

made it clear that the false jury instruction, coupled to the trial

court's refusal to caution jurors regarding the age of consent laws,

poisoned juror impartiality and contaminated any finding of intent.



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Had the appellate panel assimilated this information, rather than ig
nore it based on the government's bald/false assertion of invited error,
it would have concluded that Appellant's due process rights were com
promised due to a corruption of the Jury's truth-seeking function, and
it would have assessed a structural error on the basis of clear Sixth
Amendment violations.     In short, a "full and fair" appellate review
would have resulted in the grant of a new trial where Appellant's Fifth
and Sixth Amendment rights remained relevant. (See App.R.Br., pp. 23-30)

D.   Summary

      Ground-5 does not amount to "relitigation" because it involves a
constitutional claim that was not addressed on direct appeal, as well
as evidence that was never passed on by the panel.               Evaluating the
Fifth and Sixth Amendment harm caused by the false jury instruction's
effect on the 404(b) evidence, particularly the exhibits that were
deemed waived due to Mr. Samuel's ineffective assistance, is a far
different task than evaluating whether the 404(b) evidence should have
been admitted when it involved legal conduct.

      Review is proper under § 2255 because the district court's asser
tion of procedural default is either negated based on Appellant's IAC
claim, or overcome based on the existence of "cause and prejudice"
above and beyond that spawned by the ineffective assistance claim.
      Relief, in the form of a new trial, is absolutely necessary,
whether one considers Appellant's inability to present a defense, the
Giglio/Napue violation resulting from the corruption of the Jury's
truth-seeking function, the false evidence of intent fabricated by the
false evidence of molestations, the inability to cross-examine evidence,
the evisceration of the presumption of innocence, the misconduct during
the government's closing argument, the lack of an impartial jury, or


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the presention of structural error.       Prejudice must be presumed under

Strickland and Cronic, because the jury instructions deprived Appellant

of the core mechanisms through which an "adversarial process" manifests

itself: examination of evidence by way of an impartial panel of jurors.

END OF BRIEF REGARDING QUESTION #2.




     By presenting this brief to the instant panel, Appellant hopes

to have convinced its members that § 2255 relief is necessary due to

a constitutional violation in the trial process which rendered it

anything but fundamentally fair, and due to the absence of any proce

dural hurdles which unscalable.        Judge Wilson clearly erred when he

concluded that these issues were unbatable, and the instant panel

should issue a COA so that justice can prevail on appeal.


III. Judge Wilson Also Erred When Concluding That Appellant Failed
     To Establish The Debatability Of The Denial Of A Constitutional
     Right Or Of Errors In The District Court's Procedural Rulings
     Regarding The Other Questions Presented In The COA Petition.

     There were a total or thirteen questions presented in Appellant's

COA petition.   Eight of these dealt with claims that were denied on

the basis of an asserted procedural bar. Three of these dealt with

claims that were supposedly assessed on the merits.               Two involved proce

dural errors that took place during the § 2255 process itself.

     Appellant outlines infra each question, while identifying facts

and law which support the conclusion that Judge Wilson erred when re

fusing to authorize a COA as to those issues.          The instant panel is

asked to consider all questions de novo, given the fact that Question

#2 clearly deserved to have a COA issued.         The truth is, it is entirely

possible that Judge Wilson was never even asked to review these claims

himself, given the overwhelming justification for a COA as to Question

#2 alone.

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A. QUESTION #1: Fifth Amendment/Double Jeopardy Claim:

     In this question, Appellant argued that the merged convictions

to Counts 5 and 6 with Count 7, violated his Fifth Amendment right to

be free from double jeopardy, where (i) the district court concluded

that Counts 5 and 6 were multiplicitous with Count 7, (ii) Appellant's

attorney was ineffective (see Question #9(A)) for not having appealed

this issue under United States v. Ball, 470 U.S. 856, 864 (1985)("the

only remedy consistent with congressional intent is for the [district]

[cjourt, where the sentencing responsibility resides, to exercise its

discretion to vacate one of the underlying convictions"), and (iii)

new controlling law in the Eleventh Circuit mandates that the convic

tion be vacated, as opposed to merged (which is what happened in the

instant case). See United States v. Bobb, 577 F.3d 1366, 1372 (11th

Cir. 2009)("Where we conclude that a defendant has suffered a double

jeopardy violation because he was improperly convicted for the same

offense under two separate counts, the only remedy consistent with
congressional intent is that described in United States v. Ball (supra),
i.e., that one of the convictions be vacated, and not merged as in
Appellant's case).

     Judge Wilson erred in deeming this issue undebatable, as there was
an unquestionable argument supporting the conclusion that a constitu

tional violation took place and that any procedural bar was overcome.

B« QUESTION #3: Substantive Due Process And Eighth Amendment Claim:

     In this question, Appellant argued that it violated his Fifth and

Eighth Amendment rights to affirm an enhanced term of imprisonment that
was based in large part on his decision to engage in legal, private,


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homosexual sexual conduct, i.e., conduct that took place three-years
prior to arrest and was unrelated to the charged conduct involving child
pornography.   Indeed, there was irrefragable evidence that the district

court enhanced the prison term on this basis, and that the appellate
court (on direct appeal) affirmed on this basis (it is unclear whether

the appellate panel misunderstood the law or the factual record). Thus,
the only question for review was whether this decision was contrary
to, or an unreasonable application of, Supreme Court precedent. See
Lawrence v. Texas, 156 L.Ed.2d 508 (2003)(it violates substantive due

process to punish, by as much as a fine, legal, private, homosexual
activity); see also North Carolina v. Pearce, 23 L.Ed.2d 656 (                    )
("[T]o punish a person because he has done what the law plainly allows
him to do is a due process violation of the most basic sort.").
     With regard to any alleged procedural default, Appellant made it
clear that he faulted his attorney for not having appealed this "slam
dunk" issue, but the district court never even mentioned this specific
appellate-IAC claim, much less address it for appellate review. Instead,
the district court praised Appellant's attorney for having strenuously
objected to the court's effort at trial to enhance on this basis.                 The

fact is, there was no strategic reason for Mr. Samuel's failure to

appeal a constitutional trespass that he confronted at trial, and he
was objectively unreasonable for not enumerating this issue on appeal.
     Equally important, the decision to enhance the prison term on the
basis of legal, private gay sex violated the Parsimony/"Goldilocks"
Principle codified at 18 U.S.C. § 3553(a)(2), which mandates that the
sentence be no greater than necessary to "reflect the seriousness of
the offense, [] promote respect for the law, and [] provide just punish
ment for the offense" (see §§(A)), afford "adequate deterence for cri-
minal conduct" (see §§(B)), or to "protect the public from further crimes

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of the defendant" (see §§(C)).        To be sure, none of these objectives is
promoted by a court's determination to imprison a person longer just

because he transiently (this conduct began in 1998 and ended in 2001)

engaged in legal homosexual acts in the privacy of his home in Prague.
        Judge Wilson erred in deeming this issue undebatable in terms of

whether or not a constitutional violation occurred, or whether Appel

lant's attorney was ineffective.         There is no question that the Eleventh

Circuit must debate whether or not a court of law can enhance a prison

sentence (through the use of a variance) for conduct deemed protected

under the Fifth and Eighth Amendments.        See also Question #9(C).


C. QUESTION #4: Fourth Amendment Claim Concerning Search Of Home:

        In this question, Appellant presented three separate arguments to

prove that the search of his home in Georgia violated the Fourth Amend

ment.     The first argument alleged that the appellate panel (on direct

appeal) violated the precedent established in Zurcher v. Stanford Press,

436 U.S.    547 (1978), when it concluded that the search was based on

probable cause where "The evidence presented by the affiant, once edited

under Franks [v. Delaware], was sufficient to provide a reasonable basis

for concluding that Defendant could be engaged in sex tourism and that

Defendant would reasonably keep evidence of such activities...in his

home...." Kapordelis, 569 F.3d at 1312.         The law is clear, a warrant
may not issue based on mere suspicion of criminal conduct:

        [0]nce it is established that probable cause exists to believe
        that a federal crime has been committed a warrant may issue for
        the search of any property which the magistrate has probable
        cause to believe may be the place of concealment of evidence of
        the crime.  Zurcher, 436 U.S. at

Indeed,    a reasonable basis to believe that a crime could be, might be,
or may be taking place (reasonable suspicion) is a far cry from the
standard announced by the Supreme Court, i.e., a reasonable basis to
believe that a crime has been committed (probable cause).

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   The second argument underlying the Fourth Amendment claim deals

with the appellate court's unsupported conclusion that the post-Franks

facts "suggested" that Appellant had engaged in unlawful sexual con

duct with juveniles in Russia.         Notwithstanding the fact that "a hint"

or "insinuation" of criminal conduct (see Merriam-Webster's Collegiate

dictionary, under the definition of "suggest") falls short of probable

cause, the post-Franks record clearly establishes that all three claims

of molestation attributed to "Russian juveniles were worthy of redaction

under either Franks v. Delaware or Illinois v. Gates.              In short, Appel

lant proved in his COA petition that there was no support in the record

as a whole for the appellate court's factual finding, and he asserted

a right to § 2255 review based, in part, on 28 U.S.C. § 2254(d)(2).

     The third argument underlying the Fourth Amendment claim alleged

that Appellant was denied a full and fair hearing at the lower court

(the district court refused to provide an evidentiary hearing concerning

the Russian related allegations), and a meaningful review at the appel

late court on direct appeal (the panel erroneously concluded that Appel

lant "agreed with" or "conceded to" the district court's Franks and

Gates analyses).   Section 2255 review was justified on the basis of

Stone v. Powell, 428 U.S. 495 (1976), and its progeny at the Eleventh

Circuit. See Bradley v. Nagle, 212 F.3d 559, 565 (11th Cir. 2000)("[F]ull

and fair consideration in the context of the Fourth Amendment incudes

at least one evidentiary hearing in a trial court and the availability

of meaningful appellate review when there are facts in dispute'.');

Peoples v. Campbell,     377 F.3d 1208 (11th Cir. 2004)(there was ample

evidence of meaningful review following an exhaustive evidentiary

hearing); Hearn v. Florida, 326 Fed. Appx. 519 (11th Cir. 2009)(the

state court failed to make "explicit findings on matters essential to"

Hearn's Fourth Amendment argument).        Simply put, had the district court

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reconciled all the factual inaccuracies presented below, or had the
appellate court reconciled the objections presented on appeal, there
would have been no basis to ever conclude that post-Franks evidence

hinted at molestation or provided a reasonable basis to merely suspect
that a sex tourism crime took place.

     Judge Wilson erred in deeming this Fourth Amendment issue unde

batable in terms of whether a constitutional violation occurred, and
there were several different reasons under the law which justified
habeas review from a procedural point of view.


D. QUESTION #5: Fifth Amendment Violation As To Contos's Testimony:

     In this question, Appellant challenged the appellate court's

decision to resurrect Deno Contos's trial testimony for purposes of

enhancing the sentence based on "history of abuse."              As the record

makes pellucidly clear, Mr. Contos's testimony was deemed untrustworthy

during the trial and unreliable at sentencing. These factual findings

on Judge Pannell's part led him to refrain from identifying Contos's

testimony as a basis for the sentence enhancements.              Combing the record

for something, indeed anything, to support Judge Pannell's bald claim

of a history of abuse, the panel violated Appellant's Fifth Amendment

right to reliable evidence for sentencing purposes when it resurrected

Contos's testimony as if worthy.        Kapordelis, 569 F.3d at 1318. See
United States v. Reme, 738 F.2d 1156, 1167 (11th Cir. 1984)(to estab

lish a due process violation based on the court's reliance on false or

unreliable information, the defendant must show "(1) that the challenged

evidence is materially false or unreliable, and (2) that it actually
served as the basis for the sentence"); United States v. Satterfield,

743 F.2d 827, 840 (11th Cir. 1984)("Due process, in the sentencing con

text, requires that the defendant be given adequate notice and an

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opportunity to contest the facts relied upon to support a criminal
penalty"); Gardner v. Florida, 430 U.S. 349 (1977)(defining the right
to confront evidence as one of substantive due process); Townsend v.
Burke, 334 U.S. 736 (1948)(same).

     This claim also alleged that the appellate panel on direct appeal
unreasonably blamed Appellant's attorney for failing to provide suffi
cient evidence to support the claim of unreliability* Kapordelis, 569
F.3d at 1318, n. 21.     The fact is, Mr. Samuel did what he was supposed
to do: (i) he objected to the statement in the PSR where Mr. Contos's

statement was referenced; (ii) he objected to Contos's testimony as a
basis for the government's Obstruction of Justice enhancement; and (iii)
he objected to the use of Contos's testimony to support an enhanced
sentence (due to unreliability) when addressing the lack of support

for a history of abuse (see Brief on Appeal, pp.53 -55).             To be sure,
the court expressly found Contos's testimony unreliable at sentencing
when addressing the objections in the PSR.         As such, there was nothing
more that Mr. Samuel needed to say in the appeal brief because it was

the government's burden to object to the court's finding of unreliability.
See United States v.Paneiro, 389 F.3d 1359, 1366 (11th Cir. 2004)(Cre-

dibility findings are within the province of the factfinder).

     Judge Wilson erred when he deemed the existence of a Fifth Amend

ment violation undebatable, and he also erred when he deemed the lower

court's procedural decision undebatable.        The panel's new finding of
fact with regard to Contos's trial testimony —          i.e., that it was some
how reliable for sentencing purposes —        was a "new fact" which was

reasonably unavailable when the appeal was filed.           Carrier V. Murray,

477 U.S. 478 (1986), specifically states that "cause" would be esta

blished by a showing that the factual or legal basis for a claim was

reasonably available to counsel when the appeal was filed.

                                47
 USCA11 Case: 12-13456     Document: 38   Date Filed: 02/05/2013   Page: 48 of 53
E. QUESTION #6: Fourth Amendment Violation As To Search Of Laptop:

     In this question, Appellant alleged that the search of his laptop

computer one-month after it was seized in New York was unreasonable

under the Fourth Amendment based on new controlling law. See United

States v. Mitchell,      565 F.3d 1347 (11th Cir. 2009)(search of hard

drive 21-days after it was seized based on probable cause was unrea

sonable under Fourth Amendment).          Appellant also alleged that his

appellate attorney was constitutionally ineffective when he failed to

properly argue the other two critical issues in the case, i.e., whether

the search was a legitimate search at the "functional equivalent of

the border" or search "incident to arrest."           To be clear, the panel

never passed on these claims because they were deemed "waived" a-nti**

"not properly presented." Kapordelis, 569 F.3d at 1312.

     Appellant's argument under this question in his COA petition

clearly establishes that the search delayed by 30-days was not a

reasonable search under the Fourth Amendment, not a legitimate search

at the functional equivalent of the border (where New York was the fun

ctional equivalent), and not a search incident to arrest (where the

search took place prior to arrest and was based on limited consent, and

where the arrest was not supported by probable cause).               As such, Judge

Wilson clearly erred when concluding that Appellant failed to show

the debatability of a constitutional violation, and he also erred when

concluding that there was a procedural bar to this IAC-related claim

which involved new controlling law.         See Question #10(11)(B), as well.


F. QUESTION #7: Due Process Violation Resulting From Pros. Misconduct:

     In this question, Appellant exposed the government's exploitation,
during closing argument, when calling the jury's attention to false
evidence manufactured through (i) the false instruction complained of

in Question #2, or (ii) the false testimony provided by the government's
                                    48
           computer expert as to the number „f lul<jlt .^ ^^^
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  forensic
  on Appellant's computers. These prejudicial comments so unfairly
  affected the trial that they resulted in the denial of due process
  Darden v. Wainwri.ht, 477 U.S. 168 (1986). To be sure, ASialic
  <*•*•. Giglio v. WW ,„,,,.., 405 „.„. 1S0 (,972)/ lnvQlves ^
 aggravated type of Bradv. violation in which the suppression of evidence
 enables the prosecutor to put before the Jury what he knows to be false
 or misleading evidence, Pordj^aU, 546 F.3d 1326, ,332 mth cir.
 2008), or allows the prosecutor himself to make afalse statement to
 thS 3nr5r' "Sited States v. »TH^ 47 P.3d 1103 (luh ^ 1995)_
      Judge Wilson erred when concluding that the fact of aconstitu
 tional violation as to this question was undebatable, and he also erred
 when concluding that the district court-s procedural ruling was equally
 undebatable. This claim involves, like Questions ,, 2, 3, and 6, a
 governing claim of appellate-IAC which was never addressed by the
 district court. How could the district court be "correct" in its pro
 cedural ruling if tt ignored the Iftc claim ^ never brMched the ^^^
of the underlying substantive claim evincing IAC?
O. QDESTIQH W, Multiple P^,„„, 9am ^^ ^_^_
     in this question. Appellant presented twelve distinct procedural
errors whieh took place during sentencing, some of which manifested
constitutional violations in, and of, themselves.
     Judge Wilson erred when concluding that the fact of aconstitu
tional violation was undebatable, and he also erred when concluding
that the district court•. procedural ruling - one where that court
simply ignored the appellate-IAC claim which negated any asserted pro
cedural default - was equally undebatable. Rather than burden this
motion for reconsideration with alarge number of facts to prove these
                               49
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  points, Appellant refers the instant panel to his COA petition, Questions
  8 and 9(E).



 H* POTION 9(A-E): Appellate-TAC Involving claims Not Em^rated At Alls
      In this question (which is comprised of five distinct events
 related to ineffective assistance of counsel), Appellant advances Grounds
 15 (Question #1), 5 (Question #2), 9 (Question #3), 7 (Question #7),
 and 12-14 (Question #8) as the underlying support for his substantive
 claim of ineffective assistance of appellate counsel. Sadly, the dis
 trict court did not address even one of these IAC claims, nor did it
 assess the merits of the underlying claims to explain how Mr. Samuel
 could have been anything but ineffective for not having raised them.
 See Cross v. United States, 893 F.2d 1287, 1290 (11th Cir. 1990)(in
 order to determine whether the failure to raise a claim on appeal re
 sulted in prejudice, the merits of the omitted claim must be reviewed).
      in each of these appellate-IAC claims, the underlying claim was
clearly stronger than the claims Mr. Samuel enumerated on appeal. As
such, and because relief would have been provided on appeal had the
issues been enumerated, Mr. Samuel was constitutionally ineffective
for not having done so. Heath v. Jones. 941 F.2d 1126, 1130-31 (11th
Cir 1991)("[Effective advocates 'winnow out' weaker arguments even
though the weaker arguments may be meritorious.")(citing Jones v.
Barnes, 463 U.S. 745, 751-52 (1983)); Gray v. Greer. 800 F.2d 644, 746
(7th Cir. 1986)("Generally, only when ignored issues are clearly stronger
than those presented, will the presumption of effective assistance be
overcome."). Make no mistake, each of the underlying claims which were
omitted by Mr. Samuel during the appeal satisfied both prongs of the
Strickland v. Washington standard, Strickland v. Washington. 466 U.S.
668, 696 (1984)(defining deficient performance and prejudice resulting
                                  50
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  therefrom), where each underlying claim would have prevailed on appeal
  had they been presented .

      Judge Wilson erred when concluding that it was undebatable in terms
 of whether Mr. Samuel provided effective assistance on appeal, as there
 is no reasonable argument that would counter the belief that success
 on appeal was inescapable based on Eleventh Circuit or Supreme Court
 precedents, had the claims been enumerated.

 H- OPTION 10: Appellate-IAC TnVnlvinq claims Mf>f, PrODerlv Ra^„.
      This question involves two claims on direct appeal which were
 deemed waived by the panel because Mr. Samuel improperly raised them.
 What Mr. Samuel did was make note of the reversible errors dealing
with the search of Appellant's laptop computer (Question #6) and
home in Georgia, but then refer the panel to the briefs filed below.
There can be no doubt that any competent attorney would have known
that the Eleventh circuit prohibits such an effort. Kapordelis, 569
at 1312 (deeming the claims waived and citing case law to support the
waivers due to improper argument).
     Because each of the underlying claims would have succeeded on
appeal, Mr. Samuel was objectively unreasonable for failing to present
them properly. Judge Wilson erred when he concluded that this was not
a debatable constitutional violation.

lm QUESTI0N 11= ^ Post Facto nause Violation Poyjewed On Th» m.^,-
     In this question, Appellant argued that his constitutional rights
were violated based on new controlling case law. See United States v.
Wetherald, et al., 636 F.3d 1315 (11th Cir. 2011,(reversal is required
if there is but an "increased risk" of harsher punishment due to the
Ex Post Facto Clause violation. i„ Appellant's case, there was far
more than a substantial risk of aharsher sentence because the trial
                                  51
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court specifically enhanced based on an ex post facto factor (number

of images possessed), and the sentencing judge never even addressed

the error resulting from the use of the wrong Guidelines book, much

less "specifically state" that he would have enhanced even if the

error was corrected.

     Judge Wilson clearly erred by failing to acknowledge the debata

bility of a constitutional violation under the circumstances, and a

COA should issue as to this question by way of this motion to recon

sider.



J. QUESTIONS 12 and 13: Procedural Errors During § 2255 Process

     In Questions 12 and 13, Appellant alleges two procedural errors

which took place during § 2255 review, neither or which were addressed

in Judge Wilson's order.   Appellant urges the instant panel to review

these issues during its reconsideration of Judge Wilson's order.


IV. Closing

     Appellant has demonstrated that Judge Wilson erred in denying a

COA as to Questions 1 through 13, and he asks the instant panel to

correct this error.    By proving that actual relief is due given the

effect of the false jury instruction on the 404(b) evidence, a COA

as to Question #2 is undeniably justified given the reduced threshold

burden required for a COA: mere debatability.    A COA is justified as

to the other questions because Judge Wilson failed to recongize the

strength of the constitutional claims and the proof that the district

court's procedural rulings were reckless.

     No court of law should be allowed to escape a loud rebuke for the

misconduct which took place in Appellant's case.    The search warrant

should have been deemed unlawful.   The trial should have been deemed

corrupted by a false jury instruction and pervasive governmental mis-

                               52
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conduct.   And, the process of direct appeal should have been repaired
where the panel was responsible for constitutional trespasses.                    As for
the unconscionable and myriad sentencing violations, it must never be
held that a judge can get away with doling out prison time based on
legal, private gay sex; a decision not to admit guilt; a decision to

grieve governmental misconduct; a decision to bring witnesses to testify
for the defense; or unreliable testimony, etc.                The appeals court is

in a position to reverse these miscarriages of justice, through a pro--
cess that was specifically designed to do so, 28 U.S.C. § 2255.

     Wherefore, Appellant prays that a COA issue as to each question
presented in his Petition for Certificate of Appealability.


                                     Respectfully submitted, this 31st day
No C^"6^ »* artr/fteAn-              of January, 2013,



                                     Gregory C. Kapordelis, Appellant
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                         CERTIFICATE OF SERVICE

     Appellant, Gregory C. Kapordelis, hereby affirms that he has

mailed a copy of this Motion for Reconsideration By A Three-Judge Panel
to AUSA Robert C. McBurney, 75 Spring Street, S.W., Atlanta, Georgia

30303, first-class postage pre-paid, this 31st day of January, 2013.

                                     Affirmed, January 31, 2013,




                                     Gregory C. Kapordelis, Appellant




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